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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                 Crim. No. 21cr26
                                    )
CHISTOPHER ALBERTS,                 )
      Defendant.                    )
____________________________________)

                     DEFENDANT’S RESPONSE IN OPPOSITION TO
                   GOVERNMENT’S MOTION FOR PROTECTIVE ORDER

       Comes now Defendant Christopher Alberts, by counsel, and notes his opposition to the

Government’s Motion for Protective Order (Doc 11).

       The Government’s motion and proposed order appear to envision unilateral designation

of documents as “Sensitive” or “Highly Sensitive” based on their conformity to categories of

information listed in the proposed order. The practical ramifications of such designations are

considerable – e.g., Highly Sensitive documents cannot be viewed by a defendant without

supervision by or through counsel. Defendant lives and works three hours from the Court and

from undersigned’s office.

       More importantly, the envisioned arrangement will enable the Government unilaterally to

decide and so designate large tranches of documents according to its untrammeled subjective

evaluation of the subject documents. While a defendant could challenge any designation, the

practical difficulties in doing so, particularly on a large scale, would be onerous.

       While the Court has the discretion to restrict discovery or inspection, such discretion

should be proportional and responsive to the properly demonstrated interests of justice




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compelling same. The Government’s proffered justifications are susceptible to challenge and

bear little pertinence to a defendant charged only with discrete crimes, not conspiracy.

       Lacking a conspiracy charge, the Government’s stated concern about “anti-government

militia organizations” should not apply. It bears noting that the Government lists several: Proud

Boys, Oathkeepers, Three Percenters, and Cowboys for Trump, but does not specify their anti-

government activities. The Government fails to mention the self identified member of Black

Lives Matter who proudly described his participation in the day’s events in a video aired by

several media outlets. The supporting affidavit describes – without any elaboration – the day’s

events as an “attempted insurrection.” Yet media accounts and footage suggest that many of

those in the Capitol entered without any cognizable indicator that they were informed they

should not and evinced no violent intent.

       The avalanche of prosecutions to issue from that day will hopefully engender, at some

point, an accurate rendition of what transpired. Until then, conclusory and premature

characterization of the event does not aid the search for truth – particularly when it impedes a

defendant’s Sixth Amendment right to counsel.

       The Government’s stated concerns appear to spring in large part from the very volume of

expected discovery. Defendant does not seek to discourage the Government’s timely disclosure

of the discovery to which he is entitled, but the Government’s representations augur a data dump

unlikely to assist a defendant not charged with conspiracy.

       Defendant has no objection to reasonable restrictions for documents that call for such.

The arrangement sought by the Government, however, will encourage wholesale restriction of

blocs or classes of documents based on the Government’s unilateral evaluation of their




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sensitivity. Defendant suggests instead that restrictions be imposed on individual documents, the

sensitivity of which is articulated with particularity.

                                                          Respectfully Submitted,

                                                          CHRISTOPHER ALBERTS
                                                          By Counsel

                                                          _____/s/____________
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                                                          Counsel for the Defendant

                                  Certificate of Electronic Service

       I hereby certify that on April 30, 2021, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.

                                                          ____/s/_____________
                                                          John C. Kiyonaga




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